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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 7

 UBIOME, INC.,                                      Case No. 19-11938 (LSS)
                         Debtor.


                    ORDER SCHEDULING OMNIBUS HEARING DATE


                 IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned matter:

          DATE                          TIME

          December 2, 2020              2:00 p.m. (Eastern Time) (Omnibus Hearing)


                 IT IS HEREBY FURTHER ORDERED that the hearing shall take place at the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 6th Floor,

Courtroom No. 2, Wilmington, Delaware 19801 before the Honorable Laurie Selber Silverstein.




                                                          LAURIE SELBER SILVERSTEIN
            Dated: November 2nd, 2020                     UNITED STATES BANKRUPTCY JUDGE
            Wilmington, Delaware
